                                            Case 3:23-mj-04082-CDB Document 1 Filed 04/09/23 Page 1 of 9

                             United States District Court
                                   Violation Notice                                                                                                      STATEMENT OF PROBABLE CAUSE
                                                                                                                 (Rev.1/2019)
                                                                                                                                                        (For issuance of an arrest warrant or summons)
Location Code       Violation Number                       Officer Name                              pfficerNo.

A51                  FDVI007V                              Roper                                      2331                       I state that on A pril 8, 2023             while e xercising my duties as a law enforcement

                                                                                                                                 officer in the                                                  District of            AZ
     YOU ARE CHARGED WITH THE FOLLOWING VIOLATION
 Date and Tim e of Offense                        Offense Charged              □ CFR        □ use □ State Code
                                                                                                                                  I state than on April 8, 2023 while exercising my duties as a Law Enforcement Officer in the Di strict
 04/08/2023                 08:30                 FED           36CFR          261 .3A                                           of Arizona I, USDA Forest Service Law Enforce ment Officer (LEO) Roper, was on uniformed patrol in
                                                                                                                                 a mar1<ed patrol vehicle within the jurisdiction of the Coconino National Forest.
 Place of Offense
                                                                                                                                 At approximately 0945 hours I received a report from USFS recreation employee Larry Duhamel that
 FR 9571 & HWY 89A                                                                                                               he contacted a camper (later identified by AZ ID as Daniel DORIA) who "made threats" and was
                                                                                                                                 "very hostile" at the intersection of Highway 89A and Forest Route 9571 . Upon further discussion,
                                                                                                               HAZMAT 0          employee Duhamel stated that he was patrolling with cowor1<er Andrew Rice, and they provided the
 Offense Description: Factual Basis for Charge
                                                                                                                                 following information: They contacted several camps in the area, informing them that they were
TH R EATEN/R ESIST/INTIMIDATE/INTERFERE WITH A FOREST OFF ICER ENGAGED                                                           camping in a prohibited area. The other camps were compliant, but when they reached DORIA's
                                                                                                                                 site, DORIA was immediately verbally aggressive. Employee Duhamel initially contacted DORIA
IN   HIS  OFF ICIAL   DU T IES IN  THE  PROTECTION , IMPROV EMENT,  OR
                                                                                                                                 alone, and DORIA told him 'I have dealt with people like you before' and that he (DORIA) felt
A DM INISTRATION OF THE NATIONAL FOREST SYSTEM                                                                                   hara ssed, and he would not listen to what the employees had to say because they had no authority
                                                                                                                                 over him. Employee Rice had remained in the marked USFS truck, but when he saw the contact
                                                                                                                                 escalating, he also got out of the truck. Employee Duhamel stated that he was just trying to let
DEFENDANT INFORMATION                                      Phone:
                                                                                                                                 DORIA know about the 14-day camping limit here. DORIA stated something to the effect of "well
 Last Name
 DORIA
                                                                    First Name
                                                                    DANIEL                                          1~1          then why don't you come back in 14 days and I'll show you what I think of that l" Both Rice and
                                                                                                                                 Duhamel were emphatic that they believed that statement was a veiled threat to them. Employee
                                                                                                                                 Duhamel stated that when DORIA started to go back to his trailer he rushed back to his truck and out
                                                                                                                                 of the campsite, fearing that DORIA may be going inside to retrieve a weapon to do them harm.
 Street Address
                                                                                                                                 Employees Rice and Duhamel were in USFS uniforms, and they we re driving a mar1<ed USFS truck.

                                                                                    I                                            Employee Duhamel is a Forest Protection Officer, who is authorized to write violation notices for
 City
 CAMP VER DE
 Drivers License Nn
                                                l~t
                                          CDL □1 : State
                                                            Zip Code
                                                            86322
                                                                                      Date of Birth (mm/dd/yyyy)


                                                                    Social Security No.
                                                                                                 1983
                                                                                                                                 observed violations of 36 CFR to compliant individuals.

                                                                                                                                 Employees Rice and Duhamel both stated that they felt intimidated by DORIA's comments, as well as
                                                                                                                                 the aggressive way that he approached them and delivered his comments. They both also stated
                                                                                                                                 that DORIA's aggression and threats caused them to depart the area prior to them compl eting the
                                                                                 l751                                            wor1< that they had come to do, just to maintain their own safety. I interviewed the employees nearty

00Adult0Juvenilel Sex             I!)    Male     D   Female
                                                                    Hair   IEyes     I  Height
                                                                                                                                 5 hours after they contacted DORIA, and even over the phone, it sounded like both employees were
                                                                                                                                 "shaken" or "rattled" by the incident. Employee Duhamel was concerned enough about DORIA's
                                                                    BR HA 5 ' 10 "                           l 2t st             threatening behavior that he sent a message to all staff wor1<ing that day to not contact the camp, and
                                                                                                                                 he sent a picture and location with his notification.
 VEHICLE                 l v1N:                                                                                          CMV □
 Tag No.
                                         I : le
                                                      IYear
                                                                    Make/Model       PASS    DI     Color
                                                                                                                                 !See continued report on attached form)


                                                       2003         BMW                            GRY
            APPEARANCE IS REQUIRED                                          APPEARANCE IS OPTIONAL
                                                                                                                                 The foregoing statement is based upon :
        00 If Box A is checked , you must appear in
                                                                □
 A                                                         B          If Box Bis checked , you must pay the total collateral
                                                                                                                                                                MY PERSONAL IN V ESTIGA T ION
             court. See instructions .                                due Of in lie u of payment appear in court . See
                                                                      instructions.

                                                                                                                                 I declare under pena lty of perjury that the information which I have set forth above and
                                                                                                 Forfeitu re Amount              o n the face of this v iolation notice is true a nd correct to the best of my knowledge .
                                                                $30.00                           Processing Fee
        PAY THIS AMOUNT AT
        www.cvb.uscourts.gov                          -+    I                                     Total Collateral Due           Executed on:           04/08/2023                                G.~
                                           YOUR COURT DATE                                                                                               Date (mm/dd/yyyy)                     O fficer's S ig nature
        /If no court aooearance date is shown. you will be notified of your appearance date by mail.)
 Court Addres s                                                                            Date (mm/dd/yyyy)                     ~ Probable cause has bee n stated for the issuance of a warrant.
 123 N . San Francisco St                                                                                                                               Camille D Bibles Digitally signedbyCa milleDBibles
                                                                                                                                                                         Date: 2023.04.09 07:59:20 -07'00'
                                                                                           Time (hh:mm)                          Executed on:
 Flagstaff, AZ 86001
                                                                                            10:00                                                        Date (mm/dd/yyyy)                      U .S . Magistrate J udge
  My signature signifies that I have received a copy of th is violation notice. It is not an admission of guilt.
  I promise to appear for the hearing at the time and place instructed or in lieu of appearance pay the
  total collateral due.
 X Defendant Signature                                                                                                           HAZMAT = Hazardous material involved in incident; PA SS = 9 or more passenger vehicle;
                                                                                                                                 COL = Commercial drivers license;   CMV == Commercial vehicl e involved in incident
                                                  Office~s Copy (Pink)
                    Case 3:23-mj-04082-CDB Document 1 Filed 04/09/23 Page 2 of 9
                                                                                                                        Page 1 of 2




                USDA       STATEMENT OF PROBABLE CAUSE                                                    CASE NUMBER
            Forest Service                                                                                FDVI007V



 FOREST                                                 ADDRESS
Coconino National Forest                                8375 State Route 179, PO Box 20429, Sedona, AZ 86341
I state than on April 8, 2023 whi le exercising my duties as a Law Enforcement Officer in the District of Arizona I, USDA
Forest Service Law Enforcement Officer (LEO) Roper, was on uniformed patrol in a marked patrol vehicle within the
jurisdiction of the Coconino National Forest.

At approximately 0945 hours I received a report from USFS recreation employee Larry Duhamel that he contacted a camper
(later identified by AZ ID as Daniel DORIA) who "made threats" and was "very hostile" at the intersection of Highway 89A
and Forest Route 9571. Upon further discussion, employee Duhamel stated that he was patrolling with coworker Andrew
Rice, and they provided the following information : They contacted several camps in the area, informing them that they were
camping in a prohibited area. The other camps were compliant, but when they reached DORIA's site, DORIA was
immediately verbally aggressive. Employee Duhamel initially contacted DORIA alone, and DORIA told him ' I have dealt
with people like you before' and that he (DORIA) felt harassed, and he would not listen to what the emp loyees had to say
because they had no authority over him . Employee Rice had remained in the marked USFS truck, but when he saw the
contact escalating, he also got out of the truck. Employee Duhamel stated that he was just trying to let DORIA know about
the 14-day camping limit here. DORIA stated something to the effect of"well then why don't you come back in 14 days and
I' ll show you what I think of that! " Both Rice and Duhamel were emphatic that they believed that statement was a veiled
threat to them. Employee Duhamel stated that when DORIA started to go back to his trailer he rushed back to his truck and
out of the campsite, fearing that DORIA may be going inside to retrieve a weapon to do them harm .

Employees Rice and Duhamel were in USFS uniforms, and they were driving a marked USFS truck. Employee Duhamel is
a Forest Protection Officer, who is authorized to write violation notices for observed vio lations of 36 CFR to compliant
individuals.

Employees Rice and Duhamel both stated that they felt intimidated by DORIA's comments, as well as the aggressive way
that he approached them and delivered his comments. They both also stated that DORIA ' s aggression and threats caused
them to depart the area prior to them completing the work that they had come ,to do, just to maintain their own safety. I
interviewed the employees nearly 5 hours after they contacted DORIA, and even over the phone, it sounded like both
employees were "shaken" or " rattled" by the incident. Employee Duhamel was concerned enough about DORIA 's
threatening behavior that he sent a message to all staff »1orki~g th~t day to n_,o! c~ntact the camp, and he sent a picture and
location with his notification. This early departure meant that the employees were not ab le to accomplish the work that they
had been tasked with by the Forest Service, to include: educating DORIA about camping, sanitation, and fire regulations;
getting DORIA to move to an area where camping is allowed; and photographing and documenting DORIA' s SUV and
trailer in the Land in Hand app, which is used to track campers and associated camping or fire violations on the Coconino
National Forest.

When employee Duhamel initially reported the incident to me, I im med iately recognized the trailer and SUV from multiple
other contacts and alerts that I had received from multiple other agencies. Since January 2023 , DORIA has been contacted
by Camp Verde Marshal's Office (January-March), Prescott National Forest USFS LEO's (March 2023), Yavapai Apache
Police Department (YAPD, April 2023), and myself, and LEO on the Coconino National Forest. After each contact, I
received officer safety alerts from each agency about DORIA's verbally aggressive behavior, and signs that he may be a part
of the sovereign citizen movement. DORIA is suspected of having lived on the Prescott National Forest for nearly a month,
in an area that is closed to all camping. While DORIA had his trailer set up in this no camping area, he was contacted by a
USFS recreation employee on March 6 th who also reported that she was intimidated by DORIA and requested law
enforcement assistance. Y APO requested assistance with contacting DORIA on April 4, 2023 due to the fact that DORIA
would not depart their lands, stating that he was on National Forest System lands and they had no authority. They also
requested our assistance due to DORIA's verball y aggressive behavior, to maintain their safety. We felt that he was such an
                    Case 3:23-mj-04082-CDB Document 1 Filed 04/09/23 Page 3 of 9
                                                                                                                         Page 2 of 2




                  USDA         STATEMENT OF PROBABLE CAUSE                                               CASE NUMBER
            Forest Service                                                                               FDVI007V


officer safety risk that we contacted him with 3 uniformed officers and one agent on a covert surveillance assignment.
DORIA was verbally aggressive again with myself and the tribal officers.

I issued DORIA a violation notice for a violation of 36 CFR 26 1.3 (a), Threatening, resisting, intimidati ng, or interfering
with any forest officer engaged in or on account of the performance of his official duties in the protection, improvement, or
administration of the National Forest System is prohibited. RUBIO was also charged with a vio lation of 36 CFR 261. IO (b),
residential use of National Forest System lands, and 36 CFR 26 1. 58 (e), camp ing in a prohibited area. DORIA was issued a
warning for 2 1 USC 844, possession of a controlled substance -marijuana.


The foregoing is based upon :
 _x_ My personal observations.
        My personal investigation.
        Information supplied to me from a fellow officer's observations.
        Other (explained above) .

 I declare under penalty of perjury that the information which I have set forth above and on the face of the Violation
 Notice is true and correct to the best of my knowledge.

                                                Executed on April 8, 2023




                                           Law Enforcement Officer C. Roper

 Probable Cause has been stated for the issuance of a summons or a warrant for the arrest of the violator
 named or identified herein.                                         Digitally sign ed by
                                                                  Camille D           Camille D Bibles
                                                                                      Date: 2023.04.09
                                                                  Bibles              08:00:17 -07'00'

         (Date)                                                   (United States Magistrate-Judge)
                                             Case 3:23-mj-04082-CDB Document 1 Filed 04/09/23 Page 4 of 9

                              United States District Court
                                    Violation Notice
                                                                                                                    (Rev.1/2019)                            STATEMENT OF PROBABLE CAUSE
                                                                                                                                                           ( For issuance of an a rre st warrant or summons)
Location Code        Violation Number                        k)fficerName                               lofficerNo.

A51                  FDVI007W                                 Roper                                      2331                      I state that on April 8 , 2023               while exercising my duties as a law enforcement

                                                                                                                                   officer in the                                                     District of             AZ
     YOU ARE CHARGED WITH THE FOLLOWING VIOLATION
 Date and Time of Offense                         Offense Charged                  □ CFR       □ use □ S tate Code
                                                                                                                                   I state than on April 8, 2023 while exercising my duties as a Law Enforcement Officer in the District of
 04/08/2023                  15: 15                FED             36CFR           261 .10B                                        Arizona I, USDA Forest Service Law Enforcement Officer (LEO) Roper, was on uniformed patrol in a
                                                                                                                                   marked patrol vehicle within the jurisdiction of the Coconino National Forest.
 Place of Offense
                                                                                                                                   At approximately 1500 hours I contacted Daniel DORIA (identified by AZ. ID card) at his camp near
 FR 9571 & H WY 89A                                                                                                                Forest Route (FR) 9571 and Highway 89A. A USFS recreation employee contacted me eartier that
                                                                                                                                   day to report that he felt threatened by DORIA when he was patrolling that road and educating
                                                                                                                  HAZ.M AT 0       campers about the camping closure there. Upon arriving, I spoke with DORIA about the purpose and
 Offense Description: Factual Basis for Charge
                                                                                                                                   length of his stay at that location. DORIA informed me that he had been camped there since
 CONSTR UCT/RECONSTRUCT/IMPR OVE/ MAINTAIN/OCCUPY/USE A RESIDENCE ON                                                               approximately Wednesday , April 5, 2023. This was corroborated by a neighboring camper who
                                                                                                                                   stated that he arrived at the same location on Thursday April 6, 2023, and this neighbor reported that
 NATIONAL FOREST SYSTEM LANDS WITHOUT AUTHORIZATION
                                                                                                                                   DORI A was already camping al that location by the time he arrived and had been there every day
                                                                                                                                   since Thursday.

                                                                                                                                   I had a prior contact with DORIA on April 4, 2023. Al that lime I was assisting Yavapai Apache
DEFENDANT INFORMATION                                         Phone: (
                                                                                                                                   Police (Y APO), due to the fact that DORIA was camping on their land illegally, and DORIA staled his
                                                                                                                                   intention lo move less than 100 feet away onto adjoining Nati onal Forest System lands. During the
 Last Name
 DOR IA
                                                                        First Name
                                                                        DANIEL                                         1~1         course of that contact I educated DORIA about the camping stay limit regulations , no residential use
                                                                                                                                   on National Forest System lands, fire restrictions , sanitation, and I provided him with a Coconino
                                                                                                                                   National Forest MVUM as well as a Red Rock District Recreation Guide.
 Street Address
                                                                                                                                   II was during th is contact on April 4th that I heard DORIA, speaking lo YAPO officers, referring lo his
                                                                                                                                   trailer as a home. DORIA asked about the legality of camping on the National Forest lands adjacent
 City
 CAMP VERDE

 Drivers License No.
                                                 l~t
                                           CDL □ 1 D.L. State
                                                               Zip Code
                                                               86322
                                                                                       I
                                                                                       I

                                                                    I Social Security No.
                                                                                           Date of Birth (mm/dd/yyyy)
                                                                                                    1983
                                                                                                                                   lo the tribal lands that he was currently on. To answer his question more completely, I asked DORI A
                                                                                                                                   where he lived. He staled that he lives in various places in Camp Verde, in his trailer. On multiple
                                                                                                                                   occasions, he referred to his trailer as his "home" or "house." I also had information through prior
                                                                                                                                   contacts with Camp Verde Marshal's Office and Prescott National Forest LED's that DORIA had
                                                                                                                                   been evicted from a trailer park in Camp Verde, he then drove down the same road and began living
                                                        AZ                              51                                         on the Prescott National Forest, before coming lo Yavapai-Apache Tribal lands and ultimately the

i!]AdultOJuvenile Sex              [!]    Male    D      Female
                                                                        Hair   IEyes
                                                                        BR HA 5 '10"
                                                                                           I
                                                                                           Height
                                                                                                                I2:ts'
                                                                                                                                   Coconino National Forest. DOR IA informed me that he not only lives in his tra iler, but he is also a
                                                                                                                                   full-time student from his trailer, and he uses it to run a for-profit and not-for-profit dog care business
                                                                                                                                   out of it.

 VEHICLE                  l v1N:                                                                                          CMV 0    [See continued report on attached form)
 Tag No.
                                          1:le
                                                        I   Year    I   Make/Model         PASS   DI   Color

                                                            2003        B MW                           GRY
             APPEARANCE IS REQUIREO                                             APPEARANCE IS OPTIONAL
                                                                                                                                   The foregoing statement is based upon :
         [X) If Box A is checked , you must appear in
                                                                   □
                                                                          If Box Bis checked , you must pay the total collateral
 A                                                            B                                                                                                    MY PERSONAL INVESTIGATION
              court. See instruction s.                                   due or in lieu of payment appear in court. Se e
                                                                          instructions.

                                                                                                                                   I declare under penalty of perjury that the information which I have set forth above and
                                                                                                     Forfeiture Amount             on the face of this violation notice is true and correct to the best of my knowledge.

                                                                   $30.00                            Processing Fee
         P A Y THIS AMOUNT AT
          www.cvb .uscourts .gov                        ➔
                                                               I                                       Tota l Collateral Due       Executed on :
                                                                                                                                                           04/08/2023                                 C.~
                                                                                                                                                            Date (mm/dd/yyyy)                       Officer's Signature
                                            YOUR COURT DATE
        /If no court aooearance dale is shown, vou will be notified of vour ao, earance date bv mail. I
 Court Address                                                                                 Date (mm/dd/yyyy)                   [RI Probable cause has been stated for the issuance of a warrant.
                                                                                                                                                                                                    Digitally signed by Camille D
 123 N . San Francisco St                                                                                                                                 Cami lle D Bibles Date:
                                                                                                                                                                            Bibles
                                                                                                                                                                                  2023 .04.09 08:02:52 -0 7'00'
                                                                                               Time (hh:mm)                        Executed on :
 Flagstaff, AZ 86001
                                                                                                10:00                                                       Date (mm/d d/yyyy)                      U .S . Magistrate Judge
     My signature signifies that I have received a copy of this violation notice. It is not an admission of guilt.
     I promise lo appear for the hearing at the time and place instructed or in lieu of appearance pay the
     total collateral due.
 X Defendant Signature                                                                                                             HAZMAT = Hazardous material involved in incident; PASS = 9 or more passenger vehicle;
                                                                                                                                   COL = Commercial drivers license:   CMV = Commercial vehicle involved in inci dent
                                                   Office(s Copy (Pink)
                     Case 3:23-mj-04082-CDB Document 1 Filed 04/09/23 Page 5 of 9
                                                                                                                           Page 1 of 2




                USDA       STATEMENT OF PROBABLE CAUSE                                                       CASE NUMBER
            Forest Service                                                                                   FDVI007W



 FOREST                                                  ADDRESS
Coconino National Forest                                 8375 State Route 179, PO Box 20429, Sedona, AZ 86341
I state than on April 8, 2023 while exercising my duties as a Law Enforcement Officer in the District of Arizona I, USDA
Forest Service Law Enforcement Officer (LEO) Roper, was on uniformed patrol in a marked patrol vehicle within the
jurisdiction of the Coconino National Forest.

At approximately 1500 hours I contacted Daniel DORIA (identified by AZ ID card) at his camp near Forest Route (FR) 9571
and Highway 89A. A USFS recreation employee contacted me earlier that day to report that he felt threatened by DORIA
when he was patrolling that road and educating campers about the camping closure there. Upon arriving, I spoke with
DORIA about the purpose and length of his stay at that location. DORIA informed me that he had been camped there since
approximately Wednesday, Apri l 5, 2023 . This was corroborated by a neighboring camper who stated that he arrived at the
same location on Thursday April 6, 2023 , and this neighbor reported that DORIA was already camping at that location by the
time he arrived and had been there every day since Thursday.

I had a prior contact with DORIA on April 4, 2023. At that time I was assisting Yavapai Apache Police (YAPD), due to the
fact that DORIA was camping on their land illegally, and DORIA stated his intention to move less than I 00 feet away onto
adjoining National Forest System lands. During the course of that contact I educated DORIA about the camping stay limit
regulations, no residential use on National Forest System lands, fire restrictions, sanitation, and I provided him with a
Coconino National Forest MVUM as well as a Red Rock District Recreation Guide.

It was during this contact on April 4 th that I heard DORIA, speaking to YAPOI officers, referring to his trailer as a home.
DORIA asked about the legality of camping on the National Forest lands adjacent to the tribal lands that he was currently on.
                                                                                     1
To answer his question more completely, I asked DORIA where he lived . He stated that he lives in various places in Camp
Verde, in his trailer. On multiple occasions, he referred to his trailer as his "home" or " house." I also had information
through prior contacts with Camp Verde Marshal's Office and Prescott National Forest LEO's that DORIA had been evicted
from a trailer park in Camp Verde, he then drove down the same road and began living on the Prescott National Forest,
before coming to Yavapai-Apache Tribal lands and ultimately the Coconino National Forest. DORIA informed me that he
not only lives in his trailer, but he is also a full-time student from his trailer, and he uses it to run a for-profit and not-for-
profit dog care business out of it. I informed DORIA that it sounded like he was intending to use National Forest System
lands for a residential purpose, which was prohibited and would result in arrest or citation. DORIA became irate, telling me
that I was an "asshole" for playing semantic games with him , and that I couldn't tell him what to do and only a judge could
make the determination of what is camping vers us residential use.

On this contact on Apri l gt\ DORIA wanted to let me know that he had no intention of camping longer than 14 days.
DORIA stated that he already had a U-Haul truck reserved for his 14 th day to get his trailer moved , since he could not tow it
with his SUV. DORIA stated that he intended to make a circuit out of spending 14 days each on the Coconino, and Prescott
National Forests, as well as BLM's Agua Fria National Monument. After his arrest but prior to jail booking, DORIA also
stated that he had been in commun ication with the USDA , Northern Arizona University, and Yavapai College to look for
additional housing options where he could legally live in his trai ler.

I arrested DORIA for a violation of 36 CFR 26 1. IO (b ), construction, reconstructing, improving, maintaining, occupying or
using a residence on National Forest System lands unless authorized by a special-use authorization or approved operating
plan when such authorization is required. DORIA was also charged with violations of 36 CFR 261.3 (a), Threatening,
resisting, intimidating, or interfering with a forest officer engaged in the performance of his official duties and 36 CFR 261.
58 (e), camping in a prohibited area. DORIA was issued a warning for 21 USC 844, possession of a controlled substance -
marijuana.
                   Case 3:23-mj-04082-CDB Document 1 Filed 04/09/23 Page 6 of 9
                                                                                                                Page 2 of 2




               USDA       STATEMENT OF PROBABLE CAUSE                                                 CASE NUMBER
           Forest Service                                                                             FDVI007W



The foregoing is based upon:
 __x_ My personal observations.
        My personal investigation.
        Information supplied to me from a fellow officer's observations.
        Other (explained above) .

 I declare under penalty of perjury that the information which I have set forth above and on the face of the Violation
 Notice is true and correct to the best of my knowledge.

                                              Executed on April 8, 2023




                                         Law Enforcement Officer C. Roper

 Probable Cause has been stated for the issuance of a summons or a warrant for the arrest of the violator
 named or identified herein .                               • e
                                                               Cam I11 D
                                                                       Digitally signed by
                                                                                   Camille D Bibles

                                                               B•1bIes    I
                                                                                   Date: 2023.04.09
                                                                                   oa:os:06 -0?'00·
        (Date)                                                 (United States Magistrate-Judge)
                                            Case 3:23-mj-04082-CDB Document 1 Filed 04/09/23 Page 7 of 9

                             United States District Court
                                   Violation Notice
                                                                                                                    (Rev.1/2019)                              STATEMENT OF PROBABLE CAUSE
                                                                                                                                                             (For issuance of an arrest warrant or summons)
Location Code        Violation Number                        K)fficer Name                                ()fficer No.

A51                  FDVI00?X                                Roper                                         2331                       I state that on A pril8,2023                while exercising my duties as a law enforcement

                                                                                                                                      officer in th e                                                  District of            AZ
     YOU ARE CHARGED WITH THE FOLLOWING VIOLATION
 Date and Time of Offense                         Offense Charged                 □ CFR           □ use □ State Code
                                                                                                                                      I state than on April 8, 2023 while exercising my duties as a Law Enforcement Officer in the District of
 04/08/2023                  15:15                FED             36CFR           261 .58E                                            Arizona I, USDA Forest Service Law Enforcement Officer (LEO) Roper, was on uniformed patrol in a
                                                                                                                                      marked patrol vehicle within the jurisdiction of the Coconino National Forest.
 Place of Offense
                                                                                                                                      At approximately 1500 hours I contacted Daniel OORIA (identified by AZ. ID card) at his camp near
 FR 9571 & HWY 89A                                                                                                                    Forest Route (FR) 9571 and Highway 89A. A USFS recreation employee contacted me ear1ier that
                                                                                                                                      day to report that he felt threatened by OORIA when he was patrolling that road and educating
                                                                                                                                      campers about the camping closure there. Upon arriving, I spoke with DORIA about the purpose and
 Offense Description: Factual Basis for Charge                                                                     HAZ.MAT
                                                                                                                               □      length of his stay at that location. DORIA informed me that he had been camped there since
CAMPIN G IN A PROH IBITED AREA, PER FOREST ORDER# 03-04-06-23-03                                                                      approximately Wednesday, April 5, 2023. This was corroborated by a neighboring camper who
                                                                                                                                      stated that he arrived at the same location on Thursday April 6, 2023, and this neighbor reported that
                                                                                                                                      DORIA was already camping at that location by the time he arrived and had been there every day
                                                                                                                                      since Thursday.

                                                                                                                                      The camping closure in this area is marked and advertised in a variety of ways. The first , and most
DEFENDANT INFORMATION                                        Phone:
                                                                                                                                      obvious, was that there was a large sign visible from the front steps of RUBIO's trailer and adjacent
 Last Name
 DORIA
                                                                   IFirst Name
                                                                       DANIEL                                            1~,          to FR 9571 that reads "camping/campfires prohibited beyond this point, per 36 CFR 261 .52 (a) and
                                                                                                                                      36 CFR 361 .58 (e), Up to $5000 fine and/or 6 months in jail." This sign is also duplicated about a
                                                                                                                                      mile away, on Highway 89A northbound at the camping closure boundary. The second way this law
                                                                                                                                      is denoted is on the Coconino National Forest webpage, as well as in press releases in local news,
 Street Address                                                                                                                       with stories dating back near1y a year. The third way this camping restriction is denoted is on the
                                                                                                                                      Coconino National Forest Motor Vehicle Use Map (MVUM). with FR 9571 and the surrounding area
                                                                                                                                      marked as a "camping and campfire restrictions" area.
 City
 CAMP VERDE
 Drivers License No.
                                             l~t
                                         CDL □ 1 D.L. State
                                                              Zip Code
                                                              86322
                                                                   I Social Security No.
                                                                                          I   Date of Birth (mrnldd/yyyy)
                                                                                                         983
                                                                                                                                      I had a prior contact with OORIA on April 4, 2023. At that time I was assisting Yavapai Apache
                                                                                                                                      Police, due to the fact th at DORIA was camping on their land illegally. and DORIA stated his intention
                                                                                                                                      to move less than 100 feet away onto adjoining National Forest System lands. Ouring the course of
                                                                                                                                      that contact I educated DORIA about the camping stay limit regulations, no residential use on
                                                       AZ.                                ' 51                                        National Forest System lands, fire restrictions. sanitation, and I provided him with a Coconino
                                                                   I                                                                  National Forest MVUM as well as a Red Rock District Recreation Guide. Both publications have
00Adult0J uvenile Sex I!] Male DFemale IHair IEyes IHeight
                                        BR HA 5 '10 " I22gst
                                                                                                                                      maps indicating that DORIA was camped in a closed area. and the MVUM was still on his kitchen
                                                                                                                                      table when we perfonned an inventory of his property.

 VEHICLE                 l v1N:                                                                                           CMV0        I arrested OORIA for a violation of 36 CFR 261 . 58 (e), camping in a prohibited area per forest order
 Tag No.
                                         I:te
                                                        IYear      I   Make/Model           PASS    DI   Color
                                                                                                                                      # 03-04-06-23-03. DORIA was also charged with violations of 36 CFR 261 .3 (a) and 36 CFR 261 . 10
                                                                                                                                      (b).
                                                         2003          BMW                               GRY
             APPEARANCE IS REQUIRED                                             APPEARANCE 1$ OPTIONAL
                                                                                                                                      The foregoing statement is based upon :
         [X) If Box A is checked, you must appear in
                                                                  □
 A                                                                       If Box B is checked , you must pay the total collateral
              court. See instructions.
                                                             B
                                                                         due or in lieu of payment appear in court. See
                                                                                                                                                                     MY PERSONAL INV ESTIGATION
                                                                         instructions .

                                                                                                                                      I declare under penalty of perjury that the information which I have set forth above and
                                                                                                       Forfeiture Amount              on the face of this violation notice is true and correct to the best of my knowledge.
                                                                  $30.00                               Processing Fee
         PAY THIS AMOU NT AT
          www.cvb.uscourts.gav                         ➔
                                                              I                                          To tal C ollat e ra l D ue   Executed on:           04/08/2023                                G.~
                                                                                                                                                               Da te (mm/dd/yyyy)                    Officer's Signature
                                          YOUR COURT DATE
         (If no court appearance date is shown, you will be notified of your aooearance date by mail.)
 Court Address                                                                                    Date (mm/dd/yyyy)                   [!] Probable cause has been sta ted for the issuance of a warrant.
                                                                                                                                                                                                     Digita lly sign ed by Camille D
 123 N . San Francisco St
                                                                                                  Time (hh:mm)
                                                                                                                                                           Cam ille D Bibles Date:
                                                                                                                                                                             Bibles
                                                                                                                                      Executed on:                                 2023.04.09 08:05:59 -07'00'
 Flagstaff, AZ 86001
                                                                                                  10:00                                                        Date (mm/dd/yyyy)                     U .S . Magistrate Judge
     My signature signifies that I have received a copy of this violation notice. It is not an admission of guilt.
     I promise to appear for the hearing at the time and place instructed or in lieu of appearance pay the
     total collateral due.
 X Defendant Signature                                                                                                                HAZMAT = Hazardous material involved in incident: PAS S = 9 or more passenger vehicle:
                                                                                                                                      CDL = Commercial drivers license:   C MV = Commercial vehide involved in incident
                                                  Office~s Copy (Pink)
                    Case 3:23-mj-04082-CDB Document 1 Filed 04/09/23 Page 8 of 9
                                                                                                                        Page 1 of 2




                USDA       STATEMENT OF PROBABLE CAUSE                                                    CASE NUMBER
            Forest Service                                                                                FDVI007X



 FOREST                                                 ADDRESS
Coconino National Forest                                8375 State Route 179, PO Box 20429 , Sedona, AZ 86341
I state than on April 8, 2023 while exercising my duties as a Law Enforcement Officer in the District of Arizona I, USDA
Forest Service Law Enforcement Officer (LEO) Roper, was on uniformed patrol in a marked patrol vehicle within the
jurisdiction of the Coconino National Forest.

At approximately 1500 hours I contacted Daniel DORIA (identified by AZ ID card) at his camp near Forest Route (FR) 9571
and Highway 89A. A USFS recreation employee contacted me earlier that day to report that he fe lt threatened by DORIA
when he was patrolling that road and educating campers about the camping closure there. Upon arriving, I spoke with
DORIA about the purpose and length of his stay at that location. DORIA informed me that he had been camped there since
approximately Wednesday, April 5, 2023 . This was corroborated by a neighboring camper who stated that he arrived at the
same location on Thursday Apri l 6, 2023, and this neighbor reported that DORIA was already camping at that location by the
time he arrived and had been there every day since Thursday.

The camping closure in this area is marked and advertised in a variety of ways. The first, and most obvious, was that there
was a large sign visible from the front steps of RUBI O's trailer and adjacent to FR 9571 that reads "camping/campfires
prohibited beyond this point, per 36 CFR 261.52 (a) and 36 CFR 361.58 (e )z Up to $5000 fine and/or 6 months in jail." This
sign is also duplicated about a mile away, on Highway 89A northbound at the camping closure boundary. The second way
this law is denoted is on the Coconino National Forest webpage, as well as in press releases in local news, with stories dating
back nearly a year. The third way this camping restriction is denoted is on the Coconino National Forest Motor Vehicle Use
Map (MVUM), with FR 9571 and the surrounding area marked as a "camping and campfire restrictions" area.

I had a prior contact with DORIA on April 4, 2023. At that time I was assisting Yavapai Apache Police, due to the fact that
DORIA was camping on their land illegally, and DORIA stated his intention to move less than I 00 feet away onto adjoining
National Forest System lands. During the course of that contact I educated DO~IA about the camping stay limit regulations,
no res idential use on National Forest System lands, fire restrictions, sanitation, and I provided him with a Cocon ino National
Forest MVUM as we ll as a Red Rock District Recreation Guide. Both publica ti~ps have maps indicating that DORIA was
camped in a closed area, and the MVUM was sti ll on his kitchen table when we performed an inventory of his property.

I arrested DORIA for a violation of 36 CFR 261 . 58 (e), camping in a prohibited area per forest order# 03-04-06-23-03.
DORIA was also charged with vio lations of 36 CFR 26 1.3 (a), Threatening, resisting, intimidating, or interfering with a
forest officer engaged in the performance of his official duties and 36 CFR 261. 10 (b), residential use of National Forest
System lands without authorization. DORIA was issued a warning for 21 USC 844, possession of a controlled substance -
marijuana.


The foregoing is based upon:
                 Case 3:23-mj-04082-CDB Document 1 Filed 04/09/23 Page 9 of 9
                                                                                                               Page 2 of 2




              USDA       STATEMENT OF PROBABLE CAUSE                                                 CASE NUMBER
          Forest Service                                                                             FDVI007X


__x_   My personal observations.
       My personal investigation .
       Information supplied to me from a fellow officer's observations.
       Other (explained above) .

I declare under penalty of perjury that the information which I have set forth above and on the face of the Violation
Notice is true and correct to the best of my knowledge.

                                             Executed on April 8, 2023




                                        Law Enforcement Officer C. Roper

Probable Cause has been stated for the issuance of a summons or a warrant for the arrest of the violator
named or identified herein.                                           Digitally signed by
                                                             Camille D            Camille D Bibles
                                                                                  Date: 2023.04.09 08:07:20
                                                             Bibles               -07'00'

       (Date)                                                 (United States Magistrate-Judge)
                                                                          I
